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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
In re:
                                                                  Case No.: 19-11466 (MFWcert)
CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL,                                    (Jointly Administered)
et al.,1
                                                                 Related Docket No.: 4799
                                     Debtors.

      CERTIFICATE OF NO OBJECTION REGARDING THE THIRTEENTH
    MONTHLY APPLICATION OF BERKELEY RESEARCH GROUP, LLC FOR
    COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
    EXPENSES AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
                UNSECURED CREDITORS FOR THE PERIOD
                 JANUARY 1, 2023 THROUGH JUNE 30, 2023

         The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the Thirteenth Monthly Application of

Berkeley Research Group, LLC for Services Rendered and Reimbursement of Expenses as

Financial Advisor to the Official Committee of Unsecured Creditors for the Period January

1, 2023 through June 30, 2023 (the “Application”) [D.I. 4799], filed on July 31, 2023. The

undersigned further certifies that he has reviewed the Court’s docket in this case and no

answer, objection or other responsive pleading to the Application appears thereon.

Objections to the Application were required to be filed and served no later than August 21,

2023 at 4:00 p.m. ET.



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 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 230 North Broad
Street, Philadelphia, Pennsylvania 19102.



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        Pursuant to this Court’s Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals, entered on August 2, 2019 (the “Interim

Compensation Order”) [D.I. 341], the Debtors are authorized and directed to pay BRG

$3,960.00, which sum represents 80% of the fees for the period of January 1, 2023 through

June 30, 2023 ($4,950.00), upon the filing of this certification and without the need of a

court order.

  Dated: September 11, 2023          Respectfully submitted,

                                     /s/ Seth A. Niederman
                                     Seth A. Niederman (SN 4588)
                                     FOX ROTHSCHILD LLP
                                     919 North Market Street, Suite 300
                                     Wilmington, DE 19899-2323
                                     Telephone: (302) 654-7444
                                     Facsimile: (302) 656-8920
                                     E-mail: sniederman@foxrothschild.com

                                     -and-

                                     Andrew H. Sherman (admitted pro hac vice)
                                     Boris I. Mankovetskiy (admitted pro hac vice)
                                     SILLS CUMMIS & GROSS P.C.
                                     One Riverfront Plaza
                                     Newark, NJ 07102
                                     Telephone: (973) 643-7000
                                     Facsimile: (973) 643-6500
                                     Email: asherman@sillscummis.com
                                             bmankovetskiy@sillscummis.com


                                     Counsel to the Official Committee of Unsecured
                                     Creditors




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